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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION



 HAVANA DOCKS CORPORATION,
                                                            Case No.:
                   Plaintiff,

 vs.

 CARNIVAL CORPORATION, d/b/a
 Carnival Cruise Lines, a foreign corporation,

             Defendant.
 ____________________________________/

                                                   COMPLAINT

          Plaintiff Havana Docks Corporation (“Plaintiff”) hereby sues Carnival

 Corporation (“Defendant”), pursuant to the Cuban Liberty and Democratic

 Solidarity Act (“LIBERTAD Act”), for trafficking in Plaintiff’s confiscated property

 located in Cuba.

                                                  INTRODUCTION

          The LIBERTAD Act was enacted to assist the Cuban people in regaining

 their freedom and prosperity, strengthen international sanctions against the

 communist Cuban Government, and to deter the exploitation of wrongfully

 confiscated property in Cuba belonging to United States nationals. Although every

 U.S. President has suspended the right to bring an action under the LIBERTAD Act

 since its enactment in 1996, the Defendant has been on notice since 1996 that

 trafficking in property confiscated by the communist Cuban Government would

 subject it to liability under the LIBERTAD Act. As of the date of filing this
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 Complaint, the United States Government has ceased suspending the right to bring

 an action under the LIBERTAD Act, which therefore permits Plaintiff to seek

 damages for the Defendant’s conduct in exploiting Plaintiff’s wrongly confiscated

 property.

                                                     PARTIES

        1.       Plaintiff, Havana Docks Corporation, 215 Southland Drive, Lexington,

 Kentucky, 40503, is a Delaware corporation and a U.S. National under 22 U.S.C. §

 6023(15)(B).

        2.       Defendant, Carnival Corporation, 3655 N.W. 87th Avenue, Doral,

 Florida 33178, is a foreign corporation doing business as Carnival Cruise Lines and

 maintains its principal place of business in Doral, Miami-Dade County, Florida.

                                        JURISDICTION AND VENUE

        3.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

 1331 (federal question jurisdiction), because Plaintiff’s claim arises under 22 U.S.C.

 § 6021, et seq., and the amount in controversy exceeds the sum or value of $50,000,

 exclusive of interest, costs, and attorneys’ fees.

        4.       Venue is proper in this judicial District under 28 U.S.C. § 1391(b)(1),

 because the Defendant resides in this judicial District, and under 28 U.S.C. §§

 1391(b)(2) and 1391(d), because a substantial part of the events or omissions giving

 rise to Plaintiff’s claims occurred in this judicial District.




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                  THE CUBAN LIBERTY AND DEMOCRATIC SOLIDARITY ACT

        5.       The LIBERTAD Act became effective March 12, 1996.                                      One of the

 LIBERTAD Act’s purposes is to “protect United States nationals against

 confiscatory takings and the wrongful trafficking in property confiscated by the

 Castro Regime.” 22 U.S.C. § 6022(6). Title III of the LIBERTAD Act (“Title III”)

 establishes a private right of action for money damages against any person who

 “traffics” in such property as defined by 22 U.S.C. § 6023(13). See 22 U.S.C. § 6082.

                                          FACTUAL ALLEGATIONS

        6.       Plaintiff, a U. S. national as defined by 22 U.S.C. § 6023(15), is the

 rightful owner of certain commercial waterfront real property in the Port of

 Havana, Cuba identified specifically by the Republic of Cuba (“Cuba”) as the

 Havana Cruise Port Terminal (the “Subject Property”).

        7.       The Subject Property was continuously, owned, possessed and used in

 Cuba by Plaintiff from 1917 until the communist Cuban Government confiscated it

 in 1960.

                            Cuba’s Confiscation of the Subject Property

        8.       The communist Cuban Government confiscated the Subject Property

 on October 24, 1960. The communist Cuban Government maintains possession of

 the Subject Property and has not paid any compensation to Plaintiff for its seizure.

        9.       More specifically, the communist Cuban Government nationalized,

 expropriated, and seized ownership and control of the Subject Property.                                              The

 Subject Property has not been returned and adequate and effective compensation

 has not been provided. Further, the claim to the Subject Property has not been
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 settled pursuant to an international claims settlement agreement or other

 settlement procedure.

       10.      Plaintiff never abandoned its legitimate interest in the Subject

 Property.

                        Certification of the Confiscated Subject Property

       11.      Plaintiff’s ownership interest in the Subject Property has been certified

 by the Foreign Claims Settlement Commission under the International Claim

 Settlement Act of 1949 as represented in the certified claim attached hereto as

 Exhibit A.

                 Carnival’s Trafficking in the Confiscated Subject Property

       12.      On information and belief, beginning on or about May 1, 2016, the

 Defendant knowingly and intentionally commenced, conducted, and promoted its

 commercial cruise line business to Cuba using the Subject Property by regularly

 embarking and disembarking its passengers on the Subject Property without the

 authorization of Plaintiff or any U.S. national who holds a claim to the Subject

 Property.

       13.      On information and belief, beginning on or about May 1, 2016, the

 Defendant also knowingly and intentionally participated in and profited from the

 communist Cuban Government’s possession of the Subject Property without the

 authorization of Plaintiff or any U.S. national who holds a claim to the Subject

 Property.




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        14.      The Defendant’s knowing and intentional conduct with regard to the

 confiscated Subject Property is trafficking as defined in 22 U.S.C. § 6023(13)(A).

        15.      As a result of the Defendant’s trafficking in the Subject Property, the

 Defendant is liable to Plaintiff for all money damages allowable under 22 U.S.C.

 § 6082(a).

                                         Claim for Damages
                                   Title III of the LIBERTAD Act

        16.      Plaintiff incorporates by reference paragraphs 1 through 15 as if fully

 stated herein.

        17.      This claim is brought pursuant to Title III of the LIBERTAD Act, 22

 U.S.C. § 6082.

        18.      As set forth in Title III and alleged above, beginning on or around May

 2, 2016, the Defendant did traffic, as that term is defined in 22 U.S.C. § 6023(13)(A),

 in the Subject Property which was confiscated by the communist Cuban

 Government on or after January 1, 1959 and is therefore liable to Plaintiff, who

 owns the claim to the Subject Property for money damages.

        19.      Plaintiff is entitled to all money damages allowable under 22 U.S.C.

 § 6082(a), including, but not limited to, those equal to the sum of:

                 a.         The amount greater of: (i) the amount certified by the Foreign

        Claims Settlement Commission, plus interest; (ii) the amount determined by

        a special master pursuant to 22 U.S.C. § 6083(a)(2); or (iii) the “fair market

        value” of the Subject Property, plus interest;

                 b.        Three times the amount determined above (treble damages); and

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                 c.        Court costs and reasonable attorneys’ fees.

        20.      As of the date of filing this Complaint, the United States Government

 has ceased suspending the right to bring an action under Title III, 22 U.S.C. § 6085,

 which therefore permits Plaintiff to seek the relief requested herein.

                                            REQUEST FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against the Defendant as

 follows:

              A. Ordering the Defendant to pay damages (including treble damages);

              B. Ordering the Defendant to pay pre- and post-judgment interest on any

    amounts awarded;

              C. Order the Defendant to pay attorneys’ fees, costs, and expenses; and

              D. Ordering such other relief as may be just and proper.

                                         DEMAND FOR JURY TRIAL

        Plaintiff demands a jury trial on all issues so triable, and a trial pursuant to

 Rule 39(c), Federal Rules of Civil Procedure, as to all matters not triable as of right

 by a jury.




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       Dated: May 2, 2019

                                                      Respectfully submitted,

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